         Case 1:19-cv-01958-KOB-SGC Document 13 Filed 09/25/20 Page 1 of 2                          FILED
                                                                                           2020 Sep-25 PM 01:39
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           EASTERN DIVISION

    DAVID ALONZO RAY                            )
    MCDONALD,                                   )
                                                )
          Petitioner,                           )
    v.                                          )   Case No. 1:19-cv-01958-KOB-SGC
                                                )
    JIMMY KILGORE,                              )
                                                )
          Respondent.                           )

                             MEMORANDUM OPINION
         On July 23, 2020, the magistrate judge entered a report recommending that

the court dismiss as moot David Alonzo Ray McDonald’s petition for a writ of

habeas corpus brought pursuant to 28 U.S.C. § 2241. (Doc. 11). The magistrate

judge advised the parties of their right to file specific written objections within

fourteen days from the entry date of the report.               The court has received no

objections.1

         After careful consideration of the record in this case and the magistrate judge’s

report, the court ADOPTS the report of the magistrate judge and ACCEPTS her




1
  McDonald is no longer confined in the Talladega County Jail and the copy of the Report and
Recommendation mailed to him came back as “Undeliverable.” (Doc. 12). McDonald has failed
to provide the court with his current address. A search of the online database maintained by the
Alabama Department of Corrections (“ADOC”) indicates McDonald is no longer confined in any
ADOC facility.
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recommendation. In accordance with the recommendation, the court finds the

petition for writ of habeas corpus should be dismissed as moot.

      The court will enter a separate Final Order.

      DONE and ORDERED this 25th day of September, 2020.




                                      ____________________________________
                                      KARON OWEN BOWDRE
                                      UNITED STATES DISTRICT JUDGE




                                         2
